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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:13-CR-3057

vs.
                                                 TENTATIVE FINDINGS
SCOTT USHER,

                 Defendant.

      The Court has received the revised presentence investigation report
and addendum in this case. There are no objections or motions for departure
or variance.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005) and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   There are no objections or motions that require resolution at
     sentencing.

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 20th day of April, 2015.


                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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